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                                UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF VERMONT                                        Filed & Entered
                                                                                                        On Docket
                                                                                                        04/29/2025
                                                                       )
     IN RE:                                                            )
                                                                       )
     ROMAN CATHOLIC DIOCESE OF BURLINGTON,                             )   Case No. 24-10205-HZC
     VERMONT,1                                                         )   Chapter 11
                                                                       )
                                       Debtor.                         )
                                                                       )

             ORDER GRANTING MOTION TO SCHEDULE A STATUS CONFERENCE
                  FOR THE PRESENTATION OF SURVIVOR STATEMENTS

             Upon consideration of the Motion to Schedule a Status conference for the Presentation of

    Survivor Statements (the “Motion”) filed by the Official Committee of Unsecured Creditors

    (“Committee”) [ECF 275], the consent of the Roman Catholic Diocese of Burlington, Vermont (the

    “Diocese”), and the entirety of the docket in this case to date, the Court FINDS that the requested

    relief is in the best interest of the estate and may further the Diocese’s reorganization efforts to the

    benefit of the Diocese, the Survivors and other parties in interest. Given the nature of the relief

    requested (including the informational nature of the relief), the Court finds good cause to grant the

    relief requested without further notice or opportunity for hearing.                11 U.S.C. § 102(1)(B).

    Accordingly, IT IS HEREBY ORDERED:

             1.      The relief requested is granted on the terms and subject to the conditions of this

    Order.

             2.      The Court will hold two, two-hour status conferences (collectively, the “Survivor

    Statement Sessions”), the first of which will take place on May 14, 2025 at 10:00 a.m. ET in

    person in the United States Bankruptcy Court, 11 Elmwood Avenue, Burlington, Vermont 05401.

    The Second Survivor Statement Session shall be scheduled thereafter in person, upon 30 days’



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    The Diocese’s address is 55 Joy Drive, South Burlington, Vermont 05403, and its EIN Number is XX-XXXXXXX.
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notice, at a time to be determined but no later than July 1, 2025. The Survivor Statement Sessions

will include only Survivor Statements; no parties in interest shall be expected or allowed to

comment or respond to the Survivor Statements.

        3.       The sole purpose of the Survivor Statement Sessions is to increase survivor

engagement and understanding in this chapter 11 case; no statements of any party in interest at

the Survivor Statement Sessions will be considered as evidence in any matter or proceeding in

this case or as part of the official record in this case.

        4.       The Survivor Statement Sessions will not be transcribed by a court reporter. The

Court will make an audio recording of the Survivor Statement Sessions, which is standard

protocol for the Court and necessary for the Court to preside over such sessions, but the

recordings of the Survivor Statement Sessions will not be released or transcribed without further

Order of the Court, after notice and hearing, and only if and to the extent mandated by law or

consented to by the parties.

        5.       Consistent with Judicial Conference policy, no party or member of the public

may photograph, video record, audio record, broadcast, televise, or otherwise transmit the

Survivor Statement Sessions. Any media report concerning the statements made during the

Survivor Statement Sessions shall not be considered evidence in any matter or proceeding in

this case.

        6.       If any survivor who filed a proof of claim in the Debtor’s bankruptcy would like the

opportunity to make a statement, the survivor (a “Speaker”) should contact counsel to the Official

Committee of Unsecured Creditors (Brittany Michael at bmichael@pszjlaw.com) as soon as possible,

and include the Speaker’s contact information. Please note it may not be possible to accommodate

every request.

        7.       The Committee shall select the Speakers and, at least two business days in

advance of each Survivor Statement Session, counsel for the Committee shall email the
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courtroom deputy with the number of Speakers, in order of expected appearance, and the

estimated time allocated to each statement.

       8.      During each Survivor Statement Session, Speakers will be referred to only by

their assigned speaker number unless they choose to use their own names. The entire time

for each Survivor Statement Session is two hours, and Speaker statements shall be limited to

no more than 15 minutes each.

       9.      Apart from introductions by counsel and the Court, the Survivor Statement

Sessions will include only statements by the Speakers. No party in interest shall comment or

respond to the statements.

       10.     Bishop John J. McDermott of the Roman Catholic Diocese of Burlington,

Vermont shall attend the Survivor Statement Sessions. Other Diocesan representatives are

encouraged to attend.

April 29, 2025
Burlington, Vermont                                Heather Z. Cooper
                                                   United States Bankruptcy Judge




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